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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION



UNITED STATES OF AMERICA,                       §
                                                §
             Plaintiff/Respondent,              §
                                                §
v.                                              §         CIVIL ACTION NO. H-14-3703
                                                §         (CRIMINAL NUMBER H-12-121)
HUEY JOSEPH HEBERT, III,                        §
                                                §
             Defendant/Petitioner.              §



                         MEMORANDUM OPINION AND ORDER


       Defendant-Petitioner Huey Joseph Hebert,                     III   ("Hebert") has

filed a Motion Under 28 U.S.C.                  §     2255 to Vacate,       Set Aside,      or

Correct Sentence by a            Person in Federal              Custody     (the   "§     2255

Motion")     (Docket     Entry No.           483).1      The   United States       (or     the

"Government") has filed United States' Response to Hebert's Motion

for Relief Under 28 U.S.C.               §    2255     (the "Government's Response")

(Docket Entry No.        508).     For the reasons stated below, Hebert's

§    2255 Motion will be denied, but Hebert will be granted leave to

file an out-of-time appeal of his criminal conviction.


                                   I.        Background

       Pursuant   to a     plea agreement              with the     Government,     Hebert

pleaded guilty on May 9,                2013,       to one count of         conspiracy to

possess    with    the    intent        to    distribute       50   grams    or    more     of


     1All docket entry references are to Criminal No. H-12-121.
Page citations are to the pagination imprinted by the federal
court's electronic filing system at the top and right of the
document.
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methamphetamine,           in violation of           21       U.S.C.     §§       846,        841(a) (1),

841(b) (1) (A) (viii),          and    two     counts         of     engaging            in     monetary

transactions in property derived from specified unlawful activity,

in violation of 18 U.S.C.               §§   1957(a), (b) 2          On December 20, 2013,

the court sentenced Hebert to a term of 360 months' confinement,

the shortest sentence available under the Guidelines, consisting of

120 months on each of the three counts, to run consecutively.3


                                       II.     Analysis

A.       §   2255 Standard of Review

        A prisoner serving a                sentence      imposed by a              federal         court

"claiming         the   right   to     be    released         upon     the        ground       that     the

sentence was imposed in violation of the Constitution or laws of

the United States                       may move       the court which imposed the

sentence to vacate, set aside or correct the sentence."                                        28 U.S.C.

§    2255(a).       If the court concludes that the prisoner's motion is

meritorious, it must "vacate and set the judgment aside and shall

discharge the prisoner or resentence him or grant a new trial or

correct       the   sentence      as    may    appear         appropriate."                   28   U.S.C.

§    2255 (b) .

         "Relief        under    28     U.S.C.A.          §     2255         is     reserved            for

transgressions of constitutional rights and for a narrow range of


     2See Indictment, Docket Entry No. 12, pp. 1-2; Plea Agreement,
Docket   Entry   No.  285   (SEALED) ,  pp.   1-2;  Transcript   of
Re-Arraignment, Docket Entry No. 516, p. 28.

     3Judgment in a Criminal Case, Docket Entry No. 448,                                           p.   3;
Statement of Reasons, Docket Entry No. 449 (SEALED), p. 1.

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injuries that        could not have been raised on direct appeal and

would, if condoned, result in a complete miscarriage of justice."

United     States       v.   Vaughn,   955    F.2d       367,    368   (5th   Cir.   1992).

"Following a conviction and exhaustion or waiver of the right to

direct appeal,          [the court] presume[s] a defendant stands fairly and

finally convicted."             United States v.           Cervantes,    132 F.3d 1106,

1109 (5th Cir. 1998)             Therefore, only two types of claims may be

raised in a     §   2255 motion.       First, a      §   2255 petitioner may raise a

consti tutional or jurisdictional claim.                         Id.   Second,   a   §   2255

petitioner may assert any other type of claim that could not have

been raised on direct appeal.            Id.       To obtain relief on this second

type of claim the petitioner must show that allowing the asserted

error to stand "would result in a complete miscarriage of justice."

Id.

        Mindful of Hebert's pro se status,                      the court has liberally

construed his       §    2255 Motion and related filings.                See Estelle v.

Gamble, 97 S. Ct. 285, 292             (1976)      ("[A]    pro se document is to be

liberally construed."); Haines v. Kerner, 92 S. Ct. 594, 596 (1972)

(per curiam)        (stating that pro se pleadings are held "to less

stringent standards than formal pleadings drafted by lawyers").

Nevertheless, a pro se petitioner's "mere conclusory allegations on

a critical issue are insufficient to raise a constitutional issue."

United States v. Woods,            870 F.2d 285,           288 n.3     (5th Cir. 1989)."

The court gives no weight to factual assertions "unsupported and


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unsupportable" by evidence in the record.                      See Ross v. Estelle, 694

F.2d 1008, 1011 (5th Cir. 1983).


B.     Ineffective Assistance of Counsel Standard of Review

       Hebert         claims    that     his        attorney     ( "Counsel" )        provided

ineffective assistance.            The Sixth Amendment to the United States

Constitution guarantees criminal defendants the right to effective

assistance of          counsel.        Yarbrough v.          Gentry,    124    S.   Ct.    I,    4

(2003) .     "The benchmark for judging any claim of ineffectiveness

must    be      whether    counsel's      conduct        so    undermined       the       proper

functioning of the adversarial process that the trial cannot be

relied     on    as    having    produced       a    just    result."         Strickland v.

Washington, 104 S. Ct. 2052, 2064 (1984).                       A petitioner asserting

ineffective assistance of counsel therefore must demonstrate that

(1) counsel's performance was deficient and (2) counsel's deficient

performance prejudiced the defense.                    rd.     "Failure to prove either

deficient        performance      or     actual        prejudice       is     fatal       to    an

ineffective assistance claim."                  Carter v. Johnson,            131 F.3d 452,

463 (5th Cir. 1997).            "A court need not address both components of

the inquiry if the defendant makes an insufficient showing on one."

Armstead v. Scott, 37 F.3d 202, 210 (5th Cir. 1994).

       "The performance prong of Strickland requires a defendant to

show that counsel's representation fell below an objective standard

of reasonableness."            Lafler v. Cooper, 132 S. Ct. 1376, 1384 (2012)

(internal       quotation marks         and     citation       omitted).        "Therefore,

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courts may not fall prey to 'the distorting effect of hindsight'

but    must       be   'highly          deferential'              to      counsel's        performance."

Carter, 131 F.3d at 463                  (quoting Strickland, 104 S. Ct. at 2065-

66).     "Hence, there is a strong presumption that the performance

'falls       within         the     wide        range            of     reasonable         professional

assistance.'"           Id.       (same).           The burden is on the defendant to

overcome this presumption.                     Id.

        To establish Strickland prejudice a defendant must show that

there    is       "a   reasonable             probability              that,      but   for    counsel's

unprofessional errors, the result of the proceeding would have been

different."            Strickland,            104     S.     Ct.       at   2068.       "A reasonable

probability is a probability sufficient to undermine confidence in

the outcome."           Id.       The defendant therefore "must establish that

the attorney's errors were so deficient as to render the verdict

fundamentally unfair or unreliable."                              Carter, 131 F.3d at 463.             The

burden       is   on   the    defendant              to     affirmatively           prove     prejudice.

Strickland, 104 S. Ct. at 2067.

        If the defendant pleaded guilty,                               "in order to satisfy the

'prejudice' requirement, the defendant must show that there is a

reasonable probability that, but for counsel's errors, he would not

have pleaded guilty and would have insisted on going to trial."

Hill    v.    Lockhart,           106    S.    Ct.        366,        370   (1985).         The    court's

assessment is made based on the totality of the circumstances,

United       States    v.     Kayode,          777        F.3d     719,     725     (5th    Cir.    2014),

including "a prediction of what the outcome of a trial might have

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been," Armstead v. Scott,                 37 F.3d 202,   206        (5th Cir. 1994).       To

establish prejudice in the sentencing context, the defendant must

show a reasonable probability that, but for counsel's errors, the

defendant      would have           received a      lesser    sentence     than     he   did.

United States v. Grammas, 376 F.3d 433, 438                     (5th Cir. 2004).


c.      Hebert's Arguments

        In his       §   2255 Motion,       Hebert    identifies       four grounds       for

relief,       each       premised    on    his   attorney's         alleged   ineffective

assistance.          As discussed below,            the evidence in the record is

sufficient for Hebert to be granted an out-of-time appeal on his

first     ground,        and counsel will be appointed to represent him.

Hebert's three remaining grounds lack merit, and the Government's

request for summary judgment on those grounds will be granted.


        1.     Failure to File a Notice of Appeal

        Hebert claims that he instructed Counsel to file an appeal on

his behalf and that Counsel failed to do                     SO.4     " [F]ailure   to file

a requested [Notice of Appeal] is per se ineffective assistance of

counsel,      with or without a             showing that      the appeal would have

merit.   II   United States v. Tapp, 491 F.3d 263, 265 (5th Cir. 2007)

(citing Roe v. Flores-Ortega,                120 S.    Ct. 1029        (2000)).     To show



     4§ 2255 Motion, Docket Entry No. 483, p. 4; Brief in Support
of a Motion to Vacate, Set Aside, or Correct a Sentence Pursuant to
Title 28 U.S.C. § 2255 ("§ 2255 Brief"), Docket Entry No. 484,
pp. 4-7; Affidavit, Docket Entry No. 484-1, p. 1.

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prejudice in such a           case,       a    defendant need only demonstrate a

reasonable probability that, but for counsel's deficient failure to

consult with him about an appeal, the defendant would have timely

filed one.       Flores-Ortega,           120 S.       Ct.    at 1038.         " [T] he rule of

Flores-Ortega applies even where a defendant has waived his right

to direct appeal and collateral review."                           ~,491            F.3d at 266.

"In such circumstances, if the petitioner is able to demonstrate by

a   preponderance    of       the    evidence          that   he     requested an appeal,

prejudice will be presumed and the petitioner will be entitled to

file an out-of-time appeal,                   regardless of whether he is able to

identify any arguably meritorious grounds for appeal that would not

be precluded by the terms of his appeal waiver."                            Id.

       Hebert alleges that prior to sentencing he told Counsel that

he would want       to appeal            any sentence over 14               years. 5        Hebert

further alleges that after his sentencing he sent a letter to his

mother,   which she forwarded to Counsel,                       specifically requesting

that   Counsel    file    a    notice         of   appeal. 6         Counsel    has    filed an

affidavit in which he avers that Hebert never instructed him, or

anyone with his      firm,          to   file      a   notice of       appeal       on Hebert's

behalf. 7 Counsel also states that "Mr. Hebert and his family never

requested    or    contacted             my    office        about     an   appeal         or   the


       5§ 2255 Brief, Docket Entry No. 484, p. 5.

       6Id.; Affidavit, Docket Entry No. 484-1, p. 1                           ~~   1-2.

       7Affidavit of Tad Nelson, Docket Entry No. 515, p. 1.

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possibilities    of    an   appeal   after       the   plea   and    punishment. liB

Counsel's statements are conclusory, and Counsel did not refer to

any contemporaneous records in support of his assertions. 9                   Under

this record and given Hebert's pro se status the court concludes

that Hebert has met his burden, and that he is entitled to file an

out-of-time appeal. 10


     2.     Failure to Retest Purity of Methamphetamine

     Hebert   argues    that   Counsel     was    ineffective       in   failing   to

re-test the purity of methamphetamine seized from two of Hebert's

co-conspirators. l l    At the time of their arrests Nash Pitre and

Daniel Bourg were      in possession of          962.2   grams and 484       grams,

respectively, of methamphetamine. 12         Government testing determined

that the methamphetamine was 99% pure.13               For sentencing purposes



     BId.

     9Many criminal defense attorneys ask their clients to execute
an appeal decision form after sentencing to provide contemporaneous
evidence of their clients' wishes.

     l°As discussed in the Conclusions and Order section below, the
Clerk will reinstate Hebert's criminal case on this court's docket,
will reenter Hebert's judgment of conviction as of the date of this
Memorandum Opinion and Order, and will file a notice of appeal on
Hebert's behalf. See Fed. R. App. P. 4(b) (1) (A) i United States v.
West, 240 F.3d 456, 461-62 (5th Cir. 2001).

     11§ 2255 Motion, Docket Entry No. 484, pp. 7-9 i see also Letter
from Hebert to Judge Sim Lake (October 30, 2013), Docket Entry
No. 403 (SEALED), p. 1 (specifying that Hebert sought only to
retest drugs seized from Pitre and Bourg in 2010) .

     12Factual Basis for Guilty Plea, Plea Agreement, Docket Entry
No. 285 (SEALED), pp. 10-11.



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methamphetamine that is greater than 80% pure is considered "ice, ,,14

and it     is equivalent           to ten times       the amount    of a    mixture or

substance containing an unspecified amount of methamphetamine. 15

Converted      to       a   marijuana      equivalent,      Pitre's     and     Bourg's

methamphetamine accounted for 28,926 kilograms of the 42,731 total

kilograms for which Hebert was responsible. 16                 Based on that total

amount,    Hebert's base offense level was 38.17                   At sentencing the

court     determined        that    Hebert's     total   offense    level     was   41.18

Because Hebert's criminal history category was IV,19 his overall

guideline range was 360 months to life in prison. 20


     14United States Sentencing Commission, Guidelines Manual,
Note C to Drug Quantity Table (Nov. 2012).      Citations to the
U.S.S.G. throughout this opinion are to the 2012 version.

        15See id.   §   2D1.1(c) j see also       §   2D1.1, cmt. n.8(D).

     16See Presentence Investigation Report, Docket Entry No. 341
(SEALED), pp. 25-26 ~ 104. Pitre's 962.6 grams of ice converted
to 19,252 kilograms of marijuana, and Bourg's 483.7 grams of ice
converted to 9,674 kilograms of marijuana. See id. The probation
officer. calculated a total of 54,071 kilograms of marijuana for
which Hebert was responsible.    See id.   At sentencing, the court
sustained Hebert's obj ection to 11,340 kilograms of marij uana. See
Transcript of Sentencing, Docket Entry No. 504, p. 4j Statement of
Reasons, Docket Entry No. 449 (SEALED), p. 1 ~ I.B.1. Therefore,
Hebert was ultimately held responsible for 42,731 kilograms of
marijuana-equivalent.

        17See U.S.S.G.      §   2D1.1(c)

     18Transcript of Sentencing, Docket Entry No. 504, p. 6 j
Statement of Reasons, Docket Entry No. 449 (SEALED), p. 1 ~ III.

     19Id. j Presentence Investigation Report, Docket Entry No. 371
(SEALED), p. 30 ~ 132j Statement of Reasons, Docket Entry No. 449
(SEALED), p. 1 ~ III.

     20See U.S.S.G., ch. 5, pt. A, Sentencing Tablej Statement of
Reasons, Docket Entry No. 449 (SEALED), p. 1 ~ III.

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     At his rearraignment Hebert expressed to the court that he

wished to have the drugs retested prior to sentencing:

     THE COURT:          Has [your attorney] done everything you
                         have asked him to do?

     DEFENDANT:          There's only one thing that I'm trying to
                         get done is the retesting, sir.



     MR. NELSON:         Your Honor, he wants to check the purity
                         of the meth.   We have an agreement with
                         the government's lawyer that after the
                         plea, before sentencing, if we can come
                         up with the funds, and we may even come
                         back to the Court and ask for the funds,
                         we will have an opportunity to get that
                         done.

     THE COURT:          All right.       Is that your understanding,
                         Mr. Hebert?

     DEFENDANT:          Yes, sir. 21

Hebert contends that his family agreed to pay for the testing, but

that Counsel failed to have the tests conducted before sentencing

or seek a continuance to do so. 22        Counsel avers that Hebert and his

family   "were    told    that   the      steps   necessary   to     have   such

investigation performed would not begin until adequate funds were

received by [Counsel's]       office for the expenses."23          According to




     21Transcript    of     Re-arraignment,       Docket   Entry     No.    516,
pp. 11-12.

     22See § 2255 Brief, Docket Entry No. 484, pp. 7-8; Letter from
Hebert to Judge Sim Lake (October 30, 2013), Docket Entry No. 403
(SEALED), p. 1.

     23Affidavit of Tad Nelson, Docket Entry No. 515, p. 2.

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Counsel,     "[the drugs]    were never tested because funds were never

received." 24

     Even assuming that Counsel was deficient in failing to have

the methamphetamine retested,         any failure was not prejudicial to

Hebert's     defense.      Hebert   argues    that   "[t] he   increase in drug

quantity also caused an overall increase in sentencing. ,,25                 But

Hebert is wrong.        Had testing revealed that the methamphetamine was

less than 80% pure -- or even that the purity was negligible --

Hebert's guideline range would have been the same, and the court

would have      sentenced Hebert     to     the   same   term of   imprisonment.

Without the 28,926 kilograms of marijuana-equivalent attributable

to Pitre and Bourg, Hebert still would have been responsible for

13,805 kilograms.        This would have decreased Hebert's base offense

level from 38 to 36.26        However, a two-level decrease still would

have yielded a total offense level of 39. 27             With a criminal history

category of IV, Hebert's guideline range would have been 360 months

to life in prison, the same as for a total offense level of 41.28



     24Id.

     25§ 2255 Brief, Docket Entry No. 484, p. 8.

     26See U. S. S. G. § 2D1. 1 (c) (2) .

     27Hebert received a two-level upward adjustment based on
specific offense characteristics, a four-level upward adjustment
for his role in the offense, and a three-level downward adjustment
for acceptance of responsibility.    See Presentence Investigation
Report, Docket Entry No. 371 (SEALED), p. 27 ~~ 113, 115; Statement
of Reasons, Docket Entry No. 449 (SEALED), p. 1 ~ I.B.2. Hebert's
total offense level after adjustments was 41.    Id. ~ III.

     28See U.S.S.G., ch. 5, pt. A, Sentencing Table.

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The court sentenced Hebert to 360 months in prison.                              Nothing in

Hebert's § 2255 Motion or the record before the court suggests that

a downward departure would have been appropriate even if the drug

purity         were   less   than   alleged      by    the    Government.          See    also

United States v. Beltran, 122 F.3d 1156, 1159-60                       (8th Cir. 1997)

(concluding that low purity of methamphetamine present in a mixture

is    a    "forbidden factor"         that may not           be   used as    a    basis    for

downward departure)            Hebert has failed to establish that Counsel's

alleged deficiency resulted in any demonstrable increase in his

sentence.             Nor,   for    the   sake    of    completeness,            has   Hebert

established           that    but-for     Counsel's          failure    to        have     the

methamphetamine retested, Hebert would have insisted on going to

trial.         Hebert has failed to establish prejudice, and his claim of

ineffective assistance of counsel lacks merit.


          3.      Failure to Advocate at Sentencing

          Hebert's third ground includes two separate arguments.                       First,

Hebert alleges that Counsel assured him that he would not receive

a sentence in excess of 168 months,29 and that had Hebert known how

long his sentence would be,               he would not have pleaded guilty. 30

Second, Hebert argues that Counsel was ineffective at sentencing




          29§ 2255 Brief, Docket Entry No. 484, p. 9.

          30Id.   at 10.

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because Counsel did not object to the court's running Hebert's

sentences consecutively.31     Both of these arguments lack merit.

     Hebert "contends that Counsel assured him that he would not

receive a sentence that would exceed 168 months."32                 Hebert further

states:    " [W] hen the Judge     asked   if    I   was   promised a      certain

sentence I lied and said no,       under advice of counsel. "33            Hebert

claims that "[h]ad [he] had that correct information he would have

refused a plea and elected to go to trial."34                  Hebert's attorney

does not address these specific allegations in his Affidavit.                   As

the Fifth Circuit has concluded, " [f]ailing to properly advise the

defendant of the maximum sentence that he could receive falls below

the objective standard required by Strickland."                 Teague v. Scott,

60 F.3d 1167, 1171 (5th Cir. 1995)              "By grossly underestimating

the defendant's sentencing exposure counsel breaches his duty as a

defense lawyer in a criminal case to advise his client fully on

whether a particular plea to a charge appears desirable."                Grammas,

376 F.3d at 436-37      (internal quotation marks,             alterations,    and

citation omitted).      However,   Hebert's allegations in his § 2255

Motion and Affidavit are directly refuted by his prior statements

at his rearraignment:



     3lId. at 9-10 i Petitioner (, s) Motion for Traverse, Docket Entry
No. 535, pp. 4-9.

     32§ 2255 Brief, Docket Entry No. 484, p. 9.

     33Affidavit, Docket Entry No. 484-1, p. 1             ~   5.

     34§ 2255 Brief, Docket Entry No. 484, p. 10.

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        THE COURT:             Let me emphasize to you the importance of
                               providing truthful and complete answers
                               to my questions this morning. Sometimes
                               after a defendant has been sentenced, he
                               will file a motion or will write the
                               Court a letter saying that the answers he
                               gave at his re-arraignment were not
                               truthful or were not complete.      [You]
                               need[] to understand that I am going to
                               rely not only today on the answer that
                               you give me but at all times in the
                               future. If you should ever in the future
                               say something that is different from what
                               you have told me today, I will disregard
                               that future statement and rely on what
                               you have told me today.   Mr. Hebert, do
                               you understand that?

        DEFENDANT:             Yes, sir.



        THE COURT:             Has anyone promised you what sentence you
                               will receive if you plead guilty?

        DEFENDANT:             No, sir.

        Nevertheless,         even if Counsel's performance was deficient,

Hebert    has        not    established    that,    but   for   Counsel's     erroneous

advice, Hebert would have insisted on going to trial.                      To establish

prejudice in this context, Hebert "'must convince the court that a

decision to reject the plea bargain would have been rational under

the circumstances. '"            United States v. Kayode,          777 F.3d 719, 725

(5th Cir.        2014)      (quoting United States v.           Padilla,    130 S.    Ct.

1473)       In making          this   determination       the   court    considers    the

totality        of    the    circumstances,        including    the     allegations    in

Hebert's    §    2255 Motion and Affidavit, his likelihood of success at

trial, the risks he would have faced had he gone to trial, and any

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admonishments by the court prior to Hebert's entry of a plea.                    See



       Hebert's   allegation    that    he    would   have   gone   to   trial    is

conclusory.35     He provides no specific support for his assertion,

nor does he point to any evidence to suggest that going to trial

would have been a rational decision.            The evidence against Hebert

in this case was substantial,          including multiple wire-intercepts

and cooperating witnesses.         Moreover,     by pleading guilty Hebert

received a three-level reduction for acceptance of responsibility. 36

Without that reduction Hebert's           total offense level would have

been 43,37 yielding a guideline range of life in prison. 38                      Had

Hebert gone to trial he would have risked receiving a substantially

longer sentence.     Lastly, the court thoroughly admonished Hebert at

rearraignment as to both the range of potential sentences he might



      35Additionally, this allegation, made in the body of Hebert's
§  2255 Motion, is unsupported by any evidence; Hebert's sworn
affidavit does not address the effect of Counsel's prediction on
Hebert's decision to plead guilty.      "This glaring omission in
[Hebert's] affidavit alone would likely justify [rejection of this
ground for relief]." See Kayode, 777 F.3d at 725-26 n.4.

     36SeePlea Agreement, Docket Entry No. 285 (SEALED), p. 5 ~ 11;
Statement of Reasons, Docket Entry No. 449 (SEALED), p. 1 ~ I.A.2.

     37See U.S.S.G., ch. 5, pt. A, Sentencing Table cmt. n.2 ("An
offense level of more than 43 is to be treated as an offense level
of 43.").

     38See Presentence Investigation Report, Docket Entry No. 371
(SEALED), pp. 27-28 ~~ 118-21.

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receive and the then-present uncertainty as to where his sentence

might fall within that range: 39

     THE COURT:       Mr.   Hebert,  on Count 1 the minimum
                      sentence that you face is 10 years in
                      prison, and you face a maximum sentence
                      of life in prison.     . Mr. Hebert, do
                      you   understand  that  those  are  the
                      possible consequences of your guilty
                      plea?

     DEFENDANT:        Yes, sir.



     THE COURT:       No determination has been made about what
                      [your] sentence [] will be. If I accept
                      your guilty plea, a probation officer
                      will interview you, investigate the facts
                      of the case, and prepare a presentence
                      investigation report.       . At the time
                      of your sentencing, I will rule on any
                      objections that you or the government may
                      have to the presentence report.    I will
                      then determine your advisory guideline
                      range and your sentence.      What [you]
                      need[] to understand today is that this
                      process of determining your sentence has
                      not yet begun.   That means no one knows
                      what    advisory  guideline   range    the
                      probation officer will recommend, or what
                      advisory guideline range I will find to
                      be applicable, or what sentence I will
                      impose.

                      Mr. Hebert, do you understand that?

     DEFENDANT:        Yes, sir.

     THE COURT:       If the sentence that ,I should impose is
                      greater than the sentence that you now
                      expect, or greater than the sentence that


     39"[W] hile judicial admonishments are not a substitute for
effective assistance of counsel, they are relevant under the second
Strickland prong in determining whether a defendant was prejudiced
by counsel's error." Kayode, 777 F.3d at 728-29.

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                          your attorney or anyone else may have
                          predicted, you will be bound by your
                          guilty plea today regardless of your
                          sentence.   You will not be allowed to
                          change your mind and withdraw your guilty
                          plea because you are not satisfied with
                          your sentence.

                          Mr. Hebert, do you understand that?

     DEFENDANT:           Yes, sir.

Hebert has failed to establish a reasonable probability that, but

for Counsel's predictions as to the length of Hebert's sentence,

Hebert would have gone to trial.             Hebert has not demonstrated

prejudice on this ground.

     Hebert also argues that Counsel failed to "object and place

before   the   Court    alternatives    to   the   Court's    structuring   of

Movant's sentence. 1140    Hebert was sentenced to a term of 360 months

in custody, consisting of 120 months on each of the three counts to

which he pleaded guilty,          each sentence    to   run consecutively. 41

Hebert argues that his sentences should have been grouped under

§ 3Dl. 1 of the guidelines and run concurrently. 42          Hebert misunder-

stands how his sentence was determined.            Hebert's guideline range

for Count 1 was        30 years   to life    in prison. 43    In calculating


     4D§ 2255 Brief, Docket Entry No. 484, p. 9.

     41Transcript of Sentencing, Docket Entry No. 504,                 p.   7·,
Judgment in a Criminal Case, Docket Entry No. 448, p. 3.

     42§ 2255 Brief, Docket Entry No. 484, p. 10; Petitioner('s)
Motion for Traverse, Docket Entry No. 535, pp. 4-9.

     43See Second Addendum to the Presentence Report, Docket Entry
No. 433 (SEALED), p. 2; Transcript of Sentencing, Docket Entry
No. 504, p. 6.

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Hebert's     guideline     range,   the       Probation      Officer        applied    the

grouping rules in § 3D1.2 and relied on the base offense level for

Count 1, the most serious count to which Hebert pleaded guilty.44

At sentencing, the Government sought a sentence at the low end of

the guideline range. 45       Counsel made no further objections beyond

those already filed with the court. 46                The court sentenced Hebert

to 30 years, the minimum sentence under the guidelines. 47                      That the

court structured the sentence as 10 years on each of the three

counts, to run consecutively, had no effect on the length of the

sentence     Hebert   received.          Furthermore,        Hebert    points     to    no

evidence that a downward departure was warranted.                      Counsel had no

duty to raise futile objections, and Counsel's performance was not

deficient.      However,     even   if    Counsel's      failure       to    obj ect   was

unreasonable,     any    deficiency      on     the   part    of     Counsel    did    not

prejudice Hebert.        This ground for relief lacks merit.


     4.      Breach of Plea Agreement

     Finally,    Hebert     contends      that    Counsel      was    ineffective       in

failing to object to the Government's alleged breach of the plea

agreement.    Specifically, Hebert alleges that "[t]he plea agreement



     44Presentence Investigation              Report,     Docket      Entry     No.    371
(SEALED), p. 27 ~ 110.

     45Transcript of Sentencing, Docket Entry No. 504, p. 7.


     47Id.

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specifically listed assets that were to be forfeited.                              Yet,       the

Government moved and the Trial Court Ordered additional forfeiture

not listed in .                 the plea agreement. ,,48          This argument lacks

merit.

        Hebert's          Plea Agreement        states    that   "Defendant    agrees          to

forfeit whatever interest he/she may have in assets related to

narcotics trafficking.,,49             The Plea Agreement specifically identi-

fies Hebert's property at "0 Hawthorne Street" in Seabrook, Texas,

as    having        been    "purchased with        narcotics     trafficking proceeds

obtained from the commission of Count One of the Indictment. ,,50                             The

Plea Agreement further identifies the 0 Hawthorne Street property

by subdivision and             lot    number,      but    it   does   not   list    a       block

number. 51      Following Hebert's rearraignment,                 the court entered a

Preliminary Order of Forfeiture, identifying Hebert's property as

described in the Plea Agreement. 52                    One week later the Government

filed     an    unopposed       motion     to     amend    the   preliminary       order       of

forfeiture, identifying the same property at 0 Hawthorn Street, but

adding a        reference      to    the   specific       block number. 53     The          court



        48§ 2255 Brief, Docket Entry No. 484, p. 11.

        49Plea Agreement, Docket Entry No. 285 (SEALED), p. 13                          ~    19.

        sOld.   ~   21.

        51See id.

        52Preliminary Order of Forfeiture, Docket Entry No. 286.

     53Motion to Amend Preliminary Order of Forfeiture, Docket Entry
No. 288.

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granted the Government's motion and entered an Amended Preliminary

Order of Forfeiture. 54          After sentencing the Amended Preliminary

Order of Forfeiture was           included in Hebert's final                  judgment of

conviction. 55

        It is not clear that Hebert's claim is even cognizable in a

§    2255 motion.     Nevertheless, it is clear that the Government did

not breach the plea agreement, Counsel had no duty to object to the

change in the Order of Forfeiture, and Hebert suffered no prejudice

as a result.        This ground for relief lacks merit.


D.      Evidentiary Hearing

        "The question whether an evidentiary hearing is necessary to

resolve charges of ineffective assistance depends on an assessment

of the record."        United States v.          Smith,     915 F.2d 959,        964    (5th

Cir. 1990)       A motion brought under 28 U.S.C.                §   2255 may be denied

without a hearing if the motion,                 files,    and record conclusively

show that the prisoner is entitled to no relief.                       United States v.

Bartholomew, 974 F.2d 39, 41 (5th Cir. 1992).                         "If the record is

clearly adequate to dispose fairly of the allegations,                          the court

need inquire no further."          Smith, 915 F.2d at 964.               "A    hearing is

also      unnecessary      when     the      petitioner's             allegations        are

'inconsistent       with   his    conduct'       and      when   he    does    not     offer


     54Amended       Preliminary    Order        of    Forfeiture,        Docket       Entry
No. 289.

       550r der of Forfeiture at Sentencing, Docket Entry No. 440.

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'detailed and specific facts'           surrounding his allegations."          rd.

(quoting Davis v. Butler, 825 F.2d 892, 894 (5th Cir. 1987)).                  The

court concludes that the evidence in the record is clearly adequate

to    dispose    fairly   of     Hebert's   allegations.    Wi th   respect     to

Hebert's first ,ground for relief, Hebert has met his burden, and he

will be granted leave to file an out-of -time appeal.                  Hebert's

remaining grounds for relief lack merit, and the evidence in the

record is sufficient to establish that Hebert is not entitled to

any relief.      No evidentiary hearing is required.


                          III.    Conclusion and Order

        The court concludes that Hebert has established his right to

relief on his first ground,           i.e.,   that Counsel failed to file a

notice of appeal, but Hebert's remaining grounds for relief lack

merit.     "Since the 1960s,      [the Fifth Circuit], pursuant to a     §   2255

motion, has permitted an out-of-time appeal when a defendant was

denied assistance of counsel on appeal, through counsel's failure

to perfect an appeal."           United States v. West,    240 F.3d 456, 459

(5th Cir. 2001).       However, the statutory remedy provided by § 2255

requires the court to vacate the judgment and either discharge the

prisoner,     resentence him,       correct the sentence,     or grant a new

trial.     Therefore,     in choosing the "judicial remedy" of granting

leave to file       an out-of-time appeal,        "the court must deny the

statutory remedy, for it is inconsistent to 'grant'             §   2255 relief


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in name, yet deny it in substance."              Id. 56   Accordingly, Hebert's

Motion Under 28 U.S.C.         §   2255 to Vacate,        Set Aside,   or Correct

Sentence By a Person in Federal Custody (Docket Entry No. 483) is

DENIED in its entirety, but Hebert will be granted leave to file an

out-of-time appeal.       In order for the appellate court to have

jurisdiction over Hebert's appeal this court must first reinstate

Hebert's judgment of conviction in his criminal case to trigger the

running of a     new Rule 4 (b)         appeal period.              The clerk is

therefore ORDERED to (1)           reinstate Criminal Case No. H-12-121 on

this   court's   docket   as       to   Hebert   only,    (2)   reenter   Hebert's

Judgment in a Criminal Case (Docket Entry No. 448) as of the date

of this Memorandum Opinion and Order,              and    (3)   enter a notice of

appeal on Hebert's behalf.

       The court hereby APPOINTS the Federal Public Defender's Office

for the Southern District of Texas to represent Hebert on appeal.

The clerk is ORDERED to provide copies of this Memorandum Opinion

and Order to the parties and to the                Federal      Public Defender's

Office.

       SIGNED at Houston, Texas, on this                                    2015 .




                                                      ."   SIM LAKE
                                                 UNITED STATES DISTRICT JUDGE


     56Under this judicial remedy, the district court must dismiss
without prejudice that part of the § 2255 Motion for which the
out-of-time appeal was granted. West, 240 F.3d at 462.

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